          Case 4:22-cv-00231-ALM-CAN
Filing reviewed on 1/24/2022 by Scott GriggDocument 3 Filed 03/24/22 Page 1 of 1 PageID #: 10
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                                                                           1/24/2022 12:57 PM
                                    PETITION: SMALL CLAIMS CASE            Judge Missildine : Precinct 3
                            03-SC-22-00042                                 Collin County, Texas
      CASE NO. (court use only) _ _ _ _ _ _ _ __

                                                                       In the Justice Court, Precinct       3    __c_o_m_n_     County, Texas




      Jeffry Simpson
      PLAINTIFF

      vs.



      Helbing Law Group 1275 Glenllvet Dr Ste 100 Allentown, PA 18106
      DEFENDANT(S)

      COMPLAINT: The basis for the claim which entitles the plaintiff to seek relief against the defendant is:
      Plaintiff received 3 unsolicited calls to his cell phone ending In number 0529 from 11/04-11/10/21 from
      Defendant's company/lead generator for the solicitation of debt relief assistance using ATOS/pre-recorded
      messages; a violation of TCPA 47 U.S.C. §227(b). Plaintiff has been on the National Do Not Call Registry since
      6/18/2011 and said calls also violate TCPA 47 U.S.C. §227(b)(C). Said calls also violate Section 302.101 of the
      Texas Business and Commerce Code.
      It is Plaintiff's belief that Discovery will uncover additional calls from Defendant prior to this time period.

      RELIEF: Plaintiff seeks damages in the amount of $19,000.00 , and/or return of personal property as described as follows (be
      specific):                                                , which has a value of
      Additionally, plaintiff seeks the following:
       court filing fee, process service fees, & any additional court costs



      plus all costs of court as allowed by law.
      SERVICE OF CITATION: Service is requested on defendants by personal service at home or work or by alternative service as allowed
      by the Texas Justice Court Rules of Court. Other addresses where the defendant(s) may be served are:
       Erik Helbing 1275 Glenlivet Dr #100 Allentown, PA 18106


     1'5<1 it you wish to give your consent for the answer and any other motions or _pleadings to be sent to your email address, please
     ~eek this box, and provide your valid email address: soonerintx2121@gma1l.com                                                         .
       I declare under penalty of perjury, pursuant to the law of the State of Texas, that all information provided is true and correct.
     Jeffry Simpson
     Petitioner's Printed Name
                                                                        -~---~~-----------
                                                                        /s/ Jeffry Simpson
                                                                        Signature of Plaintiff or Attorney

                                                                        2913 Country Place Dr
     DEFENDANT(S) INFORMATION (if known):                               Address of Plaintiffs Attorney, if any, or Plaintiff if none
     DATE OF BIRTH: _ _ _ _ _ _ _ _ _ _ __
                                                                        PLANO TX 75075
     *LAST 3 NUMBERS OF DRIVER LICENSE: _ _ _ _ __                      City                        State                        Zip
     •LAST 3 NUMBERS OF SOCIAL SECURITY: _ _ _ __
                                                                             918-361-0529
     DEFENDANT'S PHONE NUMBER: 800-413-5011                             Phone & Fax No. of Plaintiffs Attorney, if any, or Plaintiff if none
                                                                        soonerintx2121@gmail.com

       Small Claim Petition. 7/2013
